                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION
UNITED STATES OF AMERICA,                              )
                                                       )
                               Plaintiff,              ) Case No. 18-00293-02-CR-W-DGK
                                                       )
       v.                                              ) Date: November 3, 2022
                                                       )
TREVOR SCOTT SPARKS,                                   )
                                                       )
                               Defendant.              )
                                            MINUTES OF TRIAL
HONORABLE GREG KAYS presiding at Kansas City, Missouri.
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Nature of Proceeding: Criminal Jury Trial - Day 3
Time Commenced: 8:30 a.m.            Time Terminated: 5:05 p.m.
Plaintiff by:                                  Defendants by:
Bruce Rhoades, AUSA                            Al White
Robert Smith, AUSA                             Blade Moore

 Remarks:                                                                                 Witness Testifying
 8:30 a.m. Preliminary matters taken up with counsel and defendant outside the           Michael Zeiger
                                                                                         9:01 – 9:56 a.m.
 presence of the jury. 8:32 a.m. Break. 9:01 a.m. In session. Michael Zeiger – Direct.
 9:38 a.m. Cross. 9:57 a.m. Jessica Getty – Direct. 10:15 a.m. Cross. 10:21 a.m.         Jessica Getty
 Robert Ontman – Direct. 10:31 a.m. Cross. 10:37 a.m. Break. 10:59 a.m. Ashley           9:57 – 10:20 a.m.
 Vasquez – Direct. 10:59 a.m. In session. Ashley Vasquez – Direct. 11:05 a.m. Cross.     Robert Ontman
 11:09 a.m. Trenton Johns – Direct. 11:13 a.m. Cross. 11:18 a.m. Direct – Patricia       10:21 – 10:36 a.m.
 Nelson. 11:33 a.m. Cross. 11:47 a.m. Redirect. 11:48 a.m. Recross. 11:50 a.m.           Ashley Vasquez
 Lunch recess. 1:01 p.m. In session. Bobbie King – Direct. 1:16 p.m. Cross. 1:27         10:59 – 11:08 a.m.
 p.m. Redirect. 1:31 p.m. Recross. 1:37 p.m. Christapher Parton – Direct. 1:39 p.m.
                                                                                         Trenton Johns
 Break. 1:57 p.m. Jennifer Wesson – Direct. 2:04 p.m. Cross. 2:16 p.m. Stephanie         11:09 – 11:13 a.m.
 Thurmond – Direct. 3:17 p.m. Break. 3:35 p.m. In session. Cross. 3:45 p.m.
 Redirect. 3:50 p.m. Adam Mainieri – Direct. 4:21 p.m. Cross. 4:34 p.m. Redirect.        Patricia Nelson
                                                                                         11:18 – 11:49 a.m.
 4:35 p.m. Recross. 4:40 p.m. Kenneth McClure -Direct. 4:57 p.m. Cross. 5:05 p.m.
 Evening recess.                                                                         Bobbie King
                                                                                         1:01 – 1:32 p.m.

                                                                                         Christapher Parton
                                                                                         1:37 – 1:38 p.m.

                                                                                         Jennifer Wesson
                                                                                         1:57 – 2:12 p.m.

                                                                                         Stephanie Thurmond
                                                                                         2:16 – 3:47 p.m.

                                                                                         Adam Mainieri
                                                                                         3:50 – 4:35 p.m.

                                                                                         Kenneth McClure
                                                                                         4:40 – 5:04 p.m.

Date/Time Government Rested:             Date/Time Defendant Rested:
Court Reporter: Annisa Justice                        Courtroom Page
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                                                                      1 Tracy
                                                                         of 1 Strodtman
